UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

AMERICAN FEDERATION OF GOVERNMENT
EMPLOYEES, AFL-CIO, et al.,
25cev1l237 (DLC)
Plaintiffs, :
-Vv- : ORDER
U.S. OFFICE OF PERSONNEL MANAGEMENT,
an agency of the United States, et
al.,

Defendants.

DENISE COTE, District Judge:

The parties have jointly requested that the plaintiffs’
motion for a temporary restraining order be converted to a
motion for a preliminary injunction. In response to an order of
February 24, 2025, the parties have conferred and today filed a
joint statement with their respective positions regarding a
schedule for further proceedings. Having reviewed their
statement, it is hereby

ORDERED that the plaintiffs shall, as they request, file
any motion for expedited discovery by February 27. The
defendants shall file any opposition to that motion by March 4.
The plaintiffs’ reply, if any, shall be filed by March 6. In
their briefing, the parties shali address whether any
preliminary injunction hearing, in the event one is held, should

be consolidated with a trial on the merits.

IT IS FURTHER ORDERED that the defendants, as they request,
shall file any motion to dismiss by March 14. The plaintiffs
shall file any opposition to that motion by March 24. The
defendants’ reply, if any, shali be filed by March 31.

TT IS FURTHER ORDERED that at the time any motion papers
are filed, the filing party shall supply Chambers with two (2)
courtesy copies by mail or delivery to the United States
Courthouse, 500 Pearl Street, New York, New York.

IT IS FURTHER ORDERED that the telephone conference
tentatively scheduled for today is cancelled as unnecessary.

Dated: New York, New York
February 25, 2025

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DENTS COTE
United States District Judge

